      Case 1:22-cr-00056-DCN Document 9-1 Filed 03/28/22 Page 1 of 3



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Attorney for Defendant


                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF IDAHO

UNITED STATES OF AMERICA,                         Case No. 22-cr-00056-DCN

                                       Plaintiff, DECLARATION OF COUNSEL IN
                                                  SUPPORT OF MOTION TO
vs.                                               CONTINUE ARRAIGNMENT

JOSEPH ALAN HOADLEY,

                                     Defendant.

       Charles F. Peterson

Continue Arraignment:

       1.      I am an attorney representing the Defendant.

       2.      The arraignment is currently set in this matter on March 31, 2022.

       3.      Defendant is out of the State from March 28, 2022 through April 4, 2022.

       4.      Mr. Hoadley had previously planned a trip to Arizona with his son prior to

the Court setting the arraignment.

       5.      This motion is brought in good faith, is not for any purpose of improper

delay, and is unopposed by the government.

       6.      For the reasons set forth above, Defendant respectfully requests that the

Court continue the arraignment for a date after April 4, 2022.



DECLARATION OF COUNSEL IN SUPPORT OF MOTION TO CONTINUE ARRAIGNMENT - 1
    Case 1:22-cr-00056-DCN Document 9-1 Filed 03/28/22 Page 2 of 3




      I declare under penalty of perjury that the foregoing is true and correct.

      Dated this 28th day of March 2022.


                                             //s//
                                             Charles F. Peterson
                                             Attorney for Defendant




DECLARATION OF COUNSEL IN SUPPORT OF MOTION TO CONTINUE ARRAIGNMENT - 2
     Case 1:22-cr-00056-DCN Document 9-1 Filed 03/28/22 Page 3 of 3




                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 28th day of March 2022, the foregoing
document was electronically filed with the Clerk of the Court using the CM/ECF
system, and that a copy was served on the following parties or counsel by email:

Rafael M. Gonzalez, Jr.
Acting United States Attorney
Katherine L. Horwitz
Assistant United States Attorney
Kate.horwitz@usdoj.gov


                                        //s//
                                        Charles F. Peterson




DECLARATION OF COUNSEL IN SUPPORT OF MOTION TO CONTINUE ARRAIGNMENT - 3
